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                                            EXHIBIT C

                             Creditor Notice List for Tier 3 Settlements




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